                 Case 2:19-mc-00036-UA Document 3 Filed 05/24/19 Page 1 of 1 Page ID #:15
RECORDING REQUESTED BY:
IRSFELD,IRSFELD &YOUNGER LLP

COUNTY:              LOS ANGELES

WHEN RECORDED MAiL TO:
IRSFELD,IRSFELD &YOUNGER LLP
100 W. BROADWAY,STE. 970
GLENDALE,CA 91210


                                                         ABSTRACT OF JUDGMENT

       Pursuant to Title 28, United States Code, Section 3201, this judgment, upon the filing of this abstract in the manner in which a notice oft~ lien
would be filed under paragraphs(1) and (2) of 26 U.S.C. §6323(fl, creates a lien on all real property of the defendants) and has priority over all other
liens or encumbrances which are perfected later in time. The lien created by this section is effective, unless satisfied, for a period of 20 years and may be
renewed by filing a notice of renewal. If such notice of renewal is filed before the expiration ofthe 20 year period to prevent the expiration ofthe lien
and the court approves the renewal, the lien shall relate back to the date the judgment is filed.


Name and address of Parties against whom judgments have, been obtained                        Names ofParties in whose favor judgments have been obtained



ROBERT ARCHER                                                                                      UNITED STATES OF AMERICA
8903 WOODLAND PASS
BOERNE,TX 78006
                                                                                                   CASE NO.: 2:19-MC-00036
SSN     XXX-XX-5751                  '"
Driver's License No. is Unknown,.                                                                  CDCS NO.: 2004A53828
No Stay of Enforcement by Court


            Amount of Judgment                                  Name of Creditor's Attorneys                                  When Docketed
$        90,225.45     (PRINC)
            306.54     (INT)                     KATHRYN E. VAN HOUTEN
              0.00     CATTY FEES)               IRSFELD,IRSFELD &YOUNGER LLP
              0.00     (COSTS)                    100 W. Broadway, Ste. 920
                                                                                                                                03/19/2019
              0.00    (ADMN CHRG)                 Glendale, CA 91210
              0.00     (PNLTY)                   (818)242-6859
              0.00     (LESS PYMTS)
$       90,531.99      TOTAL

UNITED STATES OF AMERICA                                        CLERK'S OFFICE               U.S. DISTRICT COURT FOR THE
                                                                                             CENTRAL DISTRICE OF CALIFORNIA



      I CERTIFY that the foregoing is a correct Abstract of the Judgment entered or registered by this Court.

                                                               [City] L~5 ANG~~~S [Date]                   - v~             ,2019.

                                                                KIRY K GRAY,Clea~k :';


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                                                                By    / ~               V ~/~ ~i ✓,►~beputy Clerk
